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                                                                               2021 Apr-12 AM 11:47
                                                                               U.S. DISTRICT COURT
                                                                                   N.D. OF ALABAMA


                   UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF ALABAMA
                        SOUTHERN DIVISION
SHAUN J. YOUNGER,                        )
                                         )
      Plaintiff,                         )
                                         )
v.                                       )   Case No. 2:15-cv-00952-SGC
                                         )
EXPERIAN INFORMATION                     )
SOLUTIONS, INC.,                         )
                                         )
      Defendant.                         )

                             ORDER OF DISMISSAL
      On March 30, 2021, the parties filed a joint stipulation of dismissal, signed

by counsel of record, in the above-captioned matter. (Doc. 165). Accordingly, this

matter is DISMISSED WITH PREJUDICE, each party to bear their own costs.

FED. R. CIV. P. 41(a)(1)(A)(ii).

      DONE and ORDERED this 12th day of April, 2021.



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                                              STACI G. CORNELIUS
                                              U.S. MAGISTRATE JUDGE
